                                Case 3:23-bk-01142-BAJ                  Doc 1         Filed 05/19/23           Page 1 of 32


Fill in this information to identify your case:


United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cumberland Cabinet & Design, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8640 Philips Highway, Suite 14
                                  Jacksonville, FL 32256
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Duval                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                 Case 3:23-bk-01142-BAJ                     Doc 1         Filed 05/19/23              Page 2 of 32
Debtor    Cumberland Cabinet & Design, Inc.                                                            Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor     Malcom & Sheldon Gillette                                       Relationship         Prior Owner


 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                               Case 3:23-bk-01142-BAJ                       Doc 1       Filed 05/19/23            Page 3 of 32
Debtor   Cumberland Cabinet & Design, Inc.                                                         Case number (if known)
         Name

                                                          Middle District of
                                                          Florida, Jacksonville                                                                    3:22-bk-00277-J
                                              District    Division                     When      2/10/22                Case number, if known      AF


11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.     Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                              Case 3:23-bk-01142-BAJ                     Doc 1         Filed 05/19/23             Page 4 of 32
Debtor   Cumberland Cabinet & Design, Inc.                                                         Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       May 19, 2023
                                                  MM / DD / YYYY


                             X   /s/     John C. Barber                                                    John C. Barber
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Operating Officer




18. Signature of attorney    X   /s/ Kevin Paysinger                                                       Date    May 19, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Kevin Paysinger
                                 Printed name

                                 Lansing Roy PA
                                 Firm name

                                 1710 Shadowood Lane Suite 210
                                 Jacksonville, FL 32207
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (904) 391-0030x101            Email address      kpaysinger@lansingroy.com

                                  FL
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:

 Debtor name         Cumberland Cabinet & Design, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           May 19, 2023                           X /s/ John C. Barber
                                                                       Signature of individual signing on behalf of debtor

                                                                        John C. Barber
                                                                       Printed name

                                                                       Chief Operating Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      Case 3:23-bk-01142-BAJ                                          Doc 1              Filed 05/19/23                        Page 6 of 32

 Fill in this information to identify the case:

 Debtor name            Cumberland Cabinet & Design, Inc.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                200.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                200.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           367,569.77

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           310,419.86


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             677,989.63




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                Case 3:23-bk-01142-BAJ                      Doc 1      Filed 05/19/23           Page 7 of 32

 Fill in this information to identify the case:

 Debtor name         Cumberland Cabinet & Design, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Ameris Bank checking acct 2823
                    (negative balance because of Florida
                    Department of Revenue freeze on
           3.1.     account)                                                Checking                        2823                                             $0.00


                    Ameris Bank checking acct 3679
                    (negative balance because of Florida
                    Department of Revenue freeze on
           3.2.     account)                                                Checking                        3679                                             $0.00


                    Ameris Bank checking acct 9046
                    (negative balance because of Florida
                    Department of Revenue freeze on
           3.3.     account)                                                Checking                        9046                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                      $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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                                Case 3:23-bk-01142-BAJ                       Doc 1        Filed 05/19/23            Page 8 of 32

 Debtor         Cumberland Cabinet & Design, Inc.                                                 Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               200,000.00   -                          200,000.00 =....                       Unknown
                                              face amount                           doubtful or uncollectible accounts



           11b. Over 90 days old:                                     0.00   -                                  0.00 =....                     Unknown
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                                $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers                 debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         Cumberland Cabinet & Design, Inc.                                             Case number (If known)
                Name

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Semi trailer jack                                                               $0.00                                          $200.00



 51.        Total of Part 8.
                                                                                                                                       $200.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            cumberlandcabinet.com                                                           $0.00                                              $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                            $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                               Case 3:23-bk-01142-BAJ                       Doc 1     Filed 05/19/23          Page 10 of 32

 Debtor         Cumberland Cabinet & Design, Inc.                                            Case number (If known)
                Name



 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 4
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                                  Case 3:23-bk-01142-BAJ                                 Doc 1           Filed 05/19/23                Page 11 of 32

 Debtor          Cumberland Cabinet & Design, Inc.                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                    $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $1.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                          $200.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                  $201.00         + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                      $201.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 5
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                                    Case 3:23-bk-01142-BAJ                      Doc 1          Filed 05/19/23        Page 12 of 32

 Fill in this information to identify the case:

 Debtor name         Cumberland Cabinet & Design, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   HERITAGE BANK                                 Describe debtor's property that is subject to a lien                      Unknown                       $0.00
       Creditor's Name                               Blanket lien on business assets.
       10328 DEERWOOD PARK
       BLVD
       Jacksonville, FL 32256
       Creditor's mailing address                    Describe the lien
                                                     UCC LIEN
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5844
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   Mihir Karia                                   Describe debtor's property that is subject to a lien                      Unknown                       $0.00
       Creditor's Name                               Blanket lien on business assets.

       1617 Hermitage Avenue 1-S
       Chicago, IL 60622
       Creditor's mailing address                    Describe the lien
                                                     UCC LIEN
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/2021                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Cumberland Cabinet & Design, Inc.                                                        Case number (if known)
              Name



        US SMALL BUSINESS
 2.3
        ADMIN                                        Describe debtor's property that is subject to a lien                        Unknown                    $0.00
        Creditor's Name                              Blanket lien on business assets.
        LITTLE ROCK SERVICING
        CENTER
        2120 RIVERFRONT DRIVE,
        STE 100
        Little Rock, AR 72202
        Creditor's mailing address                   Describe the lien
                                                     UCC LIEN
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    $0.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
         UNITED STATES ATTORNEY
         300 NORTH HOGAN ST SUITE 700                                                                           Line   2.3
         JACKSONVILLE, FL 32202-4204

         UNITED STATES ATTORNEY GENERAL
         US DEPARTMENT OF JUSTICE                                                                               Line   2.3
         950 PENNSYLVANIA AVE NW
         WASHINGTON, DC 20530-0001

         US SMALL BUSINESS ADMINISTRATI
         409 3RD ST SW                                                                                          Line   2.3
         Washington, DC 20416

         US SMALL BUSINESS ADMINISTRATI
         LITIGATION UNIT                                                                                        Line   2.3
         7825 BAYMEADOWS WAY
         SUITE 100-B
         Jacksonville, FL 32256




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                                  Case 3:23-bk-01142-BAJ                            Doc 1           Filed 05/19/23                Page 14 of 32

 Fill in this information to identify the case:

 Debtor name         Cumberland Cabinet & Design, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                             Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                               Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                 $367,569.77          $367,569.77
           FLORIDA DEPARTMENT OF                                     Check all that apply.
                                                                        Contingent
           REVENUE
                                                                        Unliquidated
           JACKSONVILLE SERVICE
                                                                        Disputed
           CENTER
           921 N DAVIS ST STE 250A
           JACKSONVILLE, FL 32209-6825
           Date or dates debt was incurred                           Basis for the claim:
           2021 & 2022                                               Tax Assessment
           Last 4 digits of account number 1208                      Is the claim subject to offset?
                                                                         No
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     Unknown
           ALINE INTERNATIONAL LLC
                                                                                       Contingent
           9100 W 191ST STREET                                                         Unliquidated
           Mokena, IL 60448                                                            Disputed
           Date(s) debt was incurred                                               Basis for the claim:     Business Line of Credit
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $13,940.00
           COWAN LOGISTICS, LLC
                                                                                       Contingent
           4555 HOLLINS FERRY ROAD                                                     Unliquidated
           Halethorpe, MD 21227                                                        Disputed
           Date(s) debt was incurred                                               Basis for the claim:     Business Line of Credit
           Last 4 digits of account number      UMJA                               Is the claim subject to offset?      No         Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 4
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                               Case 3:23-bk-01142-BAJ                         Doc 1          Filed 05/19/23                 Page 15 of 32

 Debtor       Cumberland Cabinet & Design, Inc.                                                       Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,791.47
          EVANS DELIVERY COMPANY
                                                                                Contingent
          PO BOX 62892                                                          Unliquidated
          Baltimore, MD 21264                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          HERITAGE BANK
                                                                                Contingent
          10328 DEERWOOD PARK BLVD                                              Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Deficiency Balance
          Last 4 digits of account number       4988                         Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $135,000.00
          Howard White
                                                                                Contingent
          8692 Hunters Creek Drive S.                                           Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred Various                                  Basis for the claim:    Business loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $733.59
          Lift Powers, Inc.
                                                                                Contingent
          6801 Suemac Place                                                     Unliquidated
          Jacksonville, FL 32254                                                Disputed
          Date(s) debt was incurred 11/2021                                  Basis for the claim:    Services Rendered
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Malcolm Anthony Gillette
                                                                                Contingent
          4516 Summer Walk Court                                                Unliquidated
          Jacksonville, FL 32258                                                Disputed
          Date(s) debt was incurred Various                                  Basis for the claim:    Shareholder loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,046.77
          PENSKE TRUCK LEASING CO
          CORPORATE SALES OFFICE
          ROUTE 10 GREEN HILLS
                                                                                Contingent
                                                                                Unliquidated
          Reading, PA 19603                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Business Line of Credit
          Last 4 digits of account number       7401                         Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $103,857.54
          PLYMOUTH CENTER POINT BUSINESS
          PARK LLC
                                                                                Contingent
          20 CUSTOM HOUSE ST, 11TH FLOOR                                        Unliquidated
          Boston, MA 02110                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Default on Lease
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,674.65
          SAFETOUCH, INC.
                                                                                Contingent
          9550 SUNBEAM CENTER DR                                                Unliquidated
          Jacksonville, FL 32257                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Services Rendered
          Last 4 digits of account number       CE3C                         Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 4
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 Debtor       Cumberland Cabinet & Design, Inc.                                                       Case number (if known)
              Name

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $44,375.84
           SINOSURE XIAMEN BRANCH
           C/O THE LEVITON LAW FIRM, LTD
                                                                                Contingent
           1 PIERCE PLACE, STE 725W                                             Unliquidated
           Itasca, IL 60143                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Services Rendered
           Last 4 digits of account number      5807                         Is the claim subject to offset?         No      Yes


 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           TOYOTA INDUSTRIES COMMERCIAL
           FINANCING
                                                                                Contingent
           8951 CYPRESS WATERS BLVD, STE 300                                    Unliquidated
           Coppell, TX 75019                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim:    Business Line of Credit
           Last 4 digits of account number                                   Is the claim subject to offset?         No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       BETTMAN LAW OFFICES, PLLC
           FOR PLYMOUTH CENTER POINT BUSINESS PARK                                                    Line     3.9
           5150 BELFORT RD, BLDG 100
                                                                                                             Not listed. Explain
           Jacksonville, FL 32256

 4.2       Commercial Collection Corp of NY
           34 Seymour St.                                                                             Line     3.2
           Tonawanda, NY 14150
                                                                                                             Not listed. Explain

 4.3       Commercial Collection Corp of NY
           34 Seymour St.                                                                             Line     3.12
           Tonawanda, NY 14150
                                                                                                             Not listed. Explain

 4.4       COMMERCIAL COLLECTORS, INC.
           FOR EVANS DELIVERY COMPANY, INC.                                                           Line     3.3
           PO BOX 337
                                                                                                             Not listed. Explain
           Montrose, MN 55363

 4.5       IC SYSTEM INC
           FOR SAFETOUCH SECURITY INC                                                                 Line     3.10
           PO BOX 64378
                                                                                                             Not listed. Explain
           Saint Paul, MN 55164-0437

 4.6       JIMERSON BIRR
           FOR HERITAGE BANK                                                                          Line     3.4
           ONE INDEPENDENT DRIVE, STE 1400
                                                                                                             Not listed. Explain
           Jacksonville, FL 32202

 4.7       Penske Truck Leasing Co., L.P.
           10821 Phillips Highway                                                                     Line     3.8

                                                                                                             Not listed. Explain
           Jacksonville, FL 32256

 4.8       PLYMOUTH CENTER POINT BUSINESS PARK LLC
           5210 BELFORT ROAD, STE 130                                                                 Line     3.9
           Jacksonville, FL 32256
                                                                                                             Not listed. Explain

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 4
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 Debtor       Cumberland Cabinet & Design, Inc.                                                  Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    367,569.77
 5b. Total claims from Part 2                                                                       5b.   +   $                    310,419.86

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.       $                       677,989.63




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Cumberland Cabinet & Design, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Cumberland Cabinet & Design, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.1     John C. Barber                    583 Ashcroft Landing Drive                       ALINE                               D
                                               Jacksonville, FL 32225                           INTERNATIONAL                       E/F       3.1
                                                                                                LLC                                 G



     2.2     John C. Barber                    583 Ashcroft Landing Drive                       HERITAGE BANK                       D
                                               Jacksonville, FL 32225                                                               E/F       3.4
                                                                                                                                    G



     2.3     John C. Barber                    583 Ashcroft Landing Drive                       FLORIDA                             D
                                               Jacksonville, FL 32225                           DEPARTMENT OF                       E/F       2.1
                                                                                                REVENUE                             G



     2.4     John C. Barber                    583 Ashcroft Landing Drive                       HERITAGE BANK                       D   2.1
                                               Jacksonville, FL 32225                                                               E/F
                                                                                                                                    G



     2.5     John C. Barber                    583 Ashcroft Landing Drive                       Mihir Karia                         D   2.2
                                               Jacksonville, FL 32225                                                               E/F
                                                                                                                                    G



     2.6     Malcolm                           4516 Summer Walk Court                           ALINE                               D
             Anthony Gillette                  Jacksonville, FL 32258                           INTERNATIONAL                       E/F       3.1
                                                                                                LLC                                 G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
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 Debtor       Cumberland Cabinet & Design, Inc.                                        Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

     2.7     Malcolm                           4516 Summer Walk Court                       HERITAGE BANK               D
             Anthony Gillette                  Jacksonville, FL 32258                                                   E/F       3.4
                                                                                                                        G



     2.8     Malcolm                           4516 Summer Walk Court                       FLORIDA                     D
             Anthony Gillette                  Jacksonville, FL 32258                       DEPARTMENT OF               E/F       2.1
                                                                                            REVENUE                     G



     2.9     Malcolm                           4516 Summer Walk Court                       HERITAGE BANK               D   2.1
             Anthony Gillette                  Jacksonville, FL 32258                                                   E/F
                                                                                                                        G



             Malcolm                           4516 Summer Walk Court                       Mihir Karia                 D   2.2
    2.10     Anthony Gillette                  Jacksonville, FL 32258                                                   E/F
                                                                                                                        G



             Sheldon Gillette                  4516 Summer Walk Court                       HERITAGE BANK               D
    2.11                                       Jacksonville, FL 32258                                                   E/F       3.4
                                                                                                                        G



             Sheldon Gillette                  4516 Summer Walk Court                       HERITAGE BANK               D   2.1
    2.12                                       Jacksonville, FL 32258                                                   E/F
                                                                                                                        G



             Sheldon Gillette                  4516 Summer Walk Court                       Mihir Karia                 D   2.2
    2.13                                       Jacksonville, FL 32258                                                   E/F
                                                                                                                        G




Official Form 206H                                                      Schedule H: Your Codebtors                                Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Cumberland Cabinet & Design, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $25,384.00
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $926,691.37
       From 01/01/2022 to 12/31/2022
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $5,881,457.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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 Debtor       Cumberland Cabinet & Design, Inc.                                                         Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Malcolm Anthony Gillette                                    4/5/2023                           $3,000.00          Repayment on loan
               4516 Summer Walk Court
               Jacksonville, FL 32258
               Co-Owner

       4.2.    John C. Barber                                              Last 12                          $39,377.95           Payroll
               583 Ashcroft Landing Drive                                  months
               Jacksonville, FL 32225
               Co-Owner

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property

       HERITAGE BANK                                            2018 Dodge Ram 2500                                            3/17/2023                    Unknown
       10328 DEERWOOD PARK BLVD
       Jacksonville, FL 32256

       TOYOTA INDUSTRIES                                        Forklift (leased)                                              12/2022                      Unknown
       COMMERCIAL FINANCING
       8951 CYPRESS WATERS BLVD,
       STE 300
       Coppell, TX 75019


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Plymouth Center Point                            Contract                   Circuit Court, Duval                            Pending
               Business Park LLC v.                                                        County, Florida                                 On appeal
               Cumberland Cabinet and                                                                                                      Concluded
               Design, Inc.
               16-2022-CA-006143

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

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 Debtor        Cumberland Cabinet & Design, Inc.                                                           Case number (if known)



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                  Value

       9.1.    HabiJax ReStore                                  Debtor gave unused, fabricated, ready to
               5800 Beach Blvd                                  assemble cabinets to HabiJax.
               Jacksonville, FL 32207                                                                                      4/2022                 Unknown

               Recipients relationship to debtor
               None


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                            lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                        value
                Address
       11.1.    Lansing Roy, P.A.
                1710 Shadowood Lane, Suite
                210                                                  Attorney fees - $2,000.00Filing fee -
                Jacksonville, FL 32207                               $338.00                                                   4/24/2023          $2,338.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 3

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       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     4815 Executive Park Court, Suite 210                                                                      2020 - 5/2023
                 Jacksonville, FL 32216

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was          Last balance
              Address                                           account number            instrument                   closed, sold,         before closing or
                                                                                                                       moved, or                      transfer
                                                                                                                       transferred
       18.1.    Heritage Bank                                   XXXX-0605                    Checking                  Unsure of date                      $0.00
                                                                                             Savings                   closed by bank
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.    Heritage Bank                                   XXXX-3919                    Checking                  Unsure of date                      $0.00
                                                                                             Savings                   closed by bank
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.3.    Heritage Bank                                   XXXX-0901                    Checking                  Unsure of date                      $0.00
                                                                                             Savings                   closed by bank
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.4.    Heritage Bank                                   XXXX-1292                    Checking                  Unsure of date                      $0.00
                                                                                             Savings                   closed by bank
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information
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For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       ENNIS, PELLUM & ASSOCIATES, CPA'S                                                                                          10/2021 - present
                    5150 Belfort Road South, Building 600
                    Jacksonville, FL 32256
       26a.2.       Richard E Blankenship CPA LLC                                                                                              2019 - 10/2021
                    13859 Soft Wind Trail N
                    Jacksonville, FL 32224

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

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    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       ENNIS, PELLUM & ASSOCIATES, CPA'S
                    5150 Belfort Road South, Building 600
                    Jacksonville, FL 32256
       26c.2.       John C. Barber
                    583 Ashcroft Landing Drive
                    Jacksonville, FL 32225

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.       Heritage Bank



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       John C. Barber                                583 Ashcroft Landing Drive                           COO and Co-Owner                      37%
                                                     Jacksonville, FL 32225

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Malcolm Anthony Gillette                      4516 Summer Walk Court                               Co-Owner                              37%
                                                     Jacksonville, FL 32258

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sheldon Gillette                              4516 Summer Walk Court                               Co-Owner                              26%
                                                     Jacksonville, FL 32258



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?



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            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          May 19, 2023

 /s/    John C. Barber                                                   John C. Barber
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Chief Operating Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                             United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Cumberland Cabinet & Design, Inc.                                                            Case No.
                                                                                 Debtor(s)               Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the Chief Operating Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:        May 19, 2023                                            /s/ John C. Barber
                                                                       John C. Barber/Chief Operating Officer
                                                                      Signer/Title




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8640 Philips Highway, Suite 14     IC SYSTEM INC                        Sheldon Gillette
Jacksonville, FL 32256             FOR SAFETOUCH SECURITY INC PO        4516 Summer Walk Court
                                   BOX 64378                            Jacksonville, FL 32258
                                   Saint Paul, MN 55164-0437
Kevin Paysinger
1710 Shadowood Lane                                                SINOSURE XIAMEN BRANCH
Suite 210                          JIMERSON BIRR                   C/O THE LEVITON LAW FIRM, LTD
Jacksonville, FL 32207             FOR HERITAGE BANK               1 PIERCE PLACE, STE 725W
                                   ONE INDEPENDENT DRIVE, STE 1400 Itasca, IL 60143
                                   Jacksonville, FL 32202
ALINE INTERNATIONAL LLC
9100 W 191ST STREET                                                     TOYOTA INDUSTRIES COMMERCIAL
Mokena, IL 60448                   John C. Barber                       FINANCING
                                   583 Ashcroft Landing Drive           8951 CYPRESS WATERS BLVD, STE
                                   Jacksonville, FL 32225               300
BETTMAN LAW OFFICES, PLLC                                               Coppell, TX 75019
FOR PLYMOUTH CENTER POINT
BUSINESS PARK                      Lift Powers, Inc.
5150 BELFORT RD, BLDG 100          6801 Suemac Place                    UNITED STATES ATTORNEY
Jacksonville, FL 32256             Jacksonville, FL 32254               300 NORTH HOGAN ST SUITE 700
                                                                        JACKSONVILLE, FL 32202-4204

Commercial Collection Corp of NY   Malcolm Anthony Gillette
34 Seymour St.                     4516 Summer Walk Court               UNITED STATES ATTORNEY
Tonawanda, NY 14150                Jacksonville, FL 32258               GENERAL
                                                                        US DEPARTMENT OF JUSTICE
                                                                        950 PENNSYLVANIA AVE NW
COMMERCIAL COLLECTORS, INC.        Mihir Karia                          WASHINGTON, DC 20530-0001
FOR EVANS DELIVERY COMPANY,        1617 Hermitage Avenue 1-S
INC.                               Chicago, IL 60622
PO BOX 337                                                              US SMALL BUSINESS ADMIN
Montrose, MN 55363                                                      LITTLE ROCK SERVICING CENTER
                                   PENSKE TRUCK LEASING CO              2120 RIVERFRONT DRIVE, STE 100
                                   CORPORATE SALES OFFICE               Little Rock, AR 72202
COWAN LOGISTICS, LLC               ROUTE 10 GREEN HILLS
4555 HOLLINS FERRY ROAD            Reading, PA 19603
Halethorpe, MD 21227                                                    US SMALL BUSINESS ADMINISTRATI
                                                                        409 3RD ST SW
                                   Penske Truck Leasing Co., L.P.       Washington, DC 20416
EVANS DELIVERY COMPANY             10821 Phillips Highway
PO BOX 62892                       Jacksonville, FL 32256
Baltimore, MD 21264                                                     US SMALL BUSINESS ADMINISTRATI
                                                                        LITIGATION UNIT
                              PLYMOUTH CENTER POINT                     7825 BAYMEADOWS WAY SUITE 100-B
FLORIDA DEPARTMENT OF REVENUE BUSINESS PARK LLC                         Jacksonville, FL 32256
JACKSONVILLE SERVICE CENTER   20 CUSTOM HOUSE ST, 11TH FLOOR
921 N DAVIS ST STE 250A       Boston, MA 02110
JACKSONVILLE, FL 32209-6825

                                   PLYMOUTH CENTER POINT
HERITAGE BANK                      BUSINESS PARK LLC
10328 DEERWOOD PARK BLVD           5210 BELFORT ROAD, STE 130
Jacksonville, FL 32256             Jacksonville, FL 32256


Howard White                       SAFETOUCH, INC.
8692 Hunters Creek Drive S.        9550 SUNBEAM CENTER DR
Jacksonville, FL 32256             Jacksonville, FL 32257
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                                                                        United States Bankruptcy Court
                                                                                    Middle District of Florida
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                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  2,000.00
             Prior to the filing of this statement I have received .......................................................                     $                  2,000.00
             Balance Due ...................................................................................................................   $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 The above fee covers representation for the entire case and no additional charge for attorney fees except as set
                 forth below.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representing client in an adversarial matter related to the Chapter 7, included but not limited to: adversary
               proceedings, objections to exemptions, motions for turnover, and motions to dismiss for bad faith or substantial
               abuse, and any amendments to documents filed before the Court.


                   ____________________________________________                                                           _________________
                   Debtor                                                                                                  Date


                   ____________________________________________                                                           _________________
                   Joint Debtor                                                                                            Date
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     May 19, 2023                                                                                         /s/ Kevin Paysinger
     Date                                                                                                 Kevin Paysinger
                                                                                                          Signature of Attorney
                                                                                                          Lansing Roy PA
                                                                                                          1710 Shadowood Lane Suite 210
                                                                                                          Jacksonville, FL 32207
                                                                                                          (904) 391-0030x101 Fax:
                                                                                                          kpaysinger@lansingroy.com
                                                                                                          Name of law firm




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  In re      Cumberland Cabinet & Design, Inc.                                                             Case No.
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                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Cumberland Cabinet & Design, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  May 19, 2023                                                           /s/ Kevin Paysinger
 Date                                                                    Kevin Paysinger
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Cumberland Cabinet & Design, Inc.
                                                                         Lansing Roy PA
                                                                         1710 Shadowood Lane Suite 210
                                                                         Jacksonville, FL 32207
                                                                         (904) 391-0030x101 Fax:
                                                                         kpaysinger@lansingroy.com




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